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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                     Case No. 9:18-CV-81418-ROSENBERG/REINHART


  RM BROADCASTING, LLC,

         Plaintiff/Counter-Defendant,

  v.

  UNITED STATES DEPARTMENT
  OF JUSTICE,

        Defendant/Counter-Plaintiff.
  _______________________________/

                                        FINAL JUDGMENT

         This action came before the Court on the parties’ cross-motions for judgment on the

  pleadings under Federal Rule of Civil Procedure 12(c). The parties submitted briefing on the

  motions, and the Court heard argument on the motions on May 1, 2019. On May 7, 2019, the

  Court issued a written Order denying Plaintiff/Counter-Defendant RM Broadcasting, LLC’s

  (“RM Broadcasting”) motion for judgment on the pleadings and granting Defendant/Counter-

  Plaintiff the United States Department of Justice’s cross-motion for judgment on the pleadings

  [DE 41].

         In consideration thereof, it is ORDERED, ADJUDGED, and DECREED that final

  judgment is hereby entered in favor of the United States Department of Justice and against

  RM Broadcasting, as follows:

         1.     RM Broadcasting is found to be an “agent of a foreign principal” under the

  Foreign Agents Registration Act of 1938, 22 U.S.C. § 611 et seq. (“FARA”) for the reasons

  stated in the Court’s Order of May 7, 2019 [DE 41].
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          2.       Accordingly, the Court hereby enters a permanent injunction pursuant to

  22 U.S.C. § 618(f) and ORDERS RM Broadcasting to effect a full and truthful registration with

  the Department of Justice under FARA no later than 14 days from the issuance of this Final

  Judgment, and to submit supplements thereto as required by FARA for such time as it continues

  to be an “agent of a foreign principal.” See 22 U.S.C. § 612.

          3.       The Court further ORDERS RM Broadcasting to comply with FARA’s other

  requirements for an agent of a foreign principal, including the Act’s filing and labeling

  requirements for informational materials, 22 U.S.C. § 614, and books and records preservation

  requirements, 22 U.S.C. § 615.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 23rd day of May,

  2019.


                                                      _______________________________
                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
  Copies furnished to Counsel of Record




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